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 1                                                          JUDGE FRANKLIN D. BURGESS
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT TACOMA
 9 UNITED STATES OF AMERICA,                    )     NO. CR05-5547FDB
                                                )
10                 Plaintiff,                   )
                                                )
11                 vs.                          )
                                                )     ORDER GRANTING STIPULATED
12 KRISTOPHER KELLY NOLAN,                      )     MOTION FOR CONTINUANCE
     SPENCER JOHN NOLAN, and                    )     OF TRIAL DATE AND EXTENDING
13 TYLER LEE NOLAN,                             )     PRETRIAL MOTIONS DEADLINE
                                                )
14                 Defendants.                  )
15

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            Upon the stipulation of the parties to continue the trial date in the above-
17
     captioned case, the Court finds that such a continuance would serve the ends of justice
18
     and outweigh the best interests of the public and the defendants in a speedy trial, and
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     that failure to grant the requested continuance would deny the defendants the reasonable
20
     time necessary for effective preparation, taking into account the exercise of due
21
     diligence, therefore,
22
     //
23
     //
24
     //
25
     //
26
     //
                                                                          FEDERAL PUBLIC DEFENDER
                                                                                        1331 Broadway, Ste. 400
     ORDER GRANTING STIPULATED MOTION                                               Tacoma, Washington 98402
     FOR CONTINUANCE OF TRIAL DATE                   1                                          (253) 593-6710
           Case 3:05-cr-05547-BHS      Document 51      Filed 09/13/05   Page 2 of 2



 1         IT IS HEREBY ORDERED that the trial date in this case be continued to
 2   February 13, 2006, with a Pretrial Motions Deadline of October 31, 2005, and a Pretrial
 3 Conference scheduled for February 3, 2006. The period of delay resulting from this

 4 continuance from the current trial date of September 26, 2005 up to and including the

 5 new trial date of February 13, 2006, is hereby excluded for speedy trial purposes under

 6 18 U.S.C. §3161(h)(8)(A) and (B)

 7         DONE this 13thday of September, 2005.
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                                               FRANKLIN D. BURGESS
13                                             UNITED STATES DISTRICT JUDGE
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16

17 Presented By:

18
   /s/
19 Miriam F. Schwartz
   Attorney for Defendant Kristopher K. Nolan
20
     /s/
21 Michael E. Schwartz
     Attorney for Defendant Spencer J. Nolan
22

23 /s/
   Phil I. Brennan
24 Attorney for Defendant Tyler L. Nolan

25 /s/
     William H. Redkey
26 Assistant United States Attorney

                                                                      FEDERAL PUBLIC DEFENDER
                                                                                   1331 Broadway, Ste. 400
     ORDER GRANTING STIPULATED MOTION                                          Tacoma, Washington 98402
     FOR CONTINUANCE OF TRIAL DATE                 2                                       (253) 593-6710
